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Revised 3/24/16

 

 
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DATED This. {( day of Cay (rordks ) 2%, 2064

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Signature

CERTIFICATION UNDER PENALTY OF PERJURY

I certify under penalty of perjury pursuant to the law of the State of Idaho that the foregoing is
true and correct.

Date: fo% 20% 2014 Klas Cowawr CA

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Typed/Printed Signature

 

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Revised 3/24/ 16

 

 
Case 1:20-cv-00221-BLW Document 2 Filed 05/11/20 Page 3 of 3

Court filing Record

Court: US District Court Idaho

Date: 05/11/2020

Case No.:

Inmate Name: Stoddard, Daniel
fnmate No.: 63150

Document Title: Ballot: The Pagan Ministry bill of Chancery Religious Mandates
Total Pages @%
Inmate Verification of page count signature:_Filed without inmate review___

Document_i of 1__

 

 
